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          IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT
____________________________________
                                     )
STATE OF TENNESSEE, et al.,          )
                                     )
                                     )
          Plaintiff-Appellees,       )
                                     )
               v.                    ) No. 22-5807
                                     )
DEPARTMENT OF EDUCATION,             )
et al.,                              )
                                     )
          Defendant-Appellants.      )
____________________________________)

          MOTION FOR A 30-DAY EXTENSION OF TIME
                 TO FILE OPENING BRIEF

     Pursuant to Federal Rule of Appellate Procedure 27 and Sixth

Circuit Rule 26, the government respectfully requests a 30-day

extension of time, to and including December 15, 2022, of the time for

filing its opening brief. Plaintiff-appellees oppose this motion.

Intervenor-appellees take no position on this motion. The government

has not previously sought an extension in this case.

     1. This case involves the government’s appeal of a preliminary

injunction issued in favor of plaintiffs-appellees. The preliminary

injunction prohibits the government from implementing against
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plaintiffs certain agency guidance documents about the meaning of

federal anti-discrimination provisions contained in Title VII, 42 U.S.C.

§ 2000e-2(a), and Title IX, 20 U.S.C. § 1681(a). The government did not

seek a stay of that preliminary injunction pending appeal, and that

preliminary injunction therefore remains in effect.

     2. Pursuant to the Court’s briefing letter of October 6, 2022, the

government’s opening brief is currently due on November 15, 2022.

     3. The government respectfully requests a 30-day extension of

time, to and including December 15, 2022, in which to file its response

brief. The requested extension is necessary in light of other deadlines

faced by government counsel. Jack Starcher has principal

responsibility for preparing the government’s brief in this case. Mr.

Starcher also has principal responsibility for preparing the

government’s briefs in: American Public Gas Ass’n v. DOE, No. 22-1107

(D.C. Cir.) (consolidated respondent brief currently due November 14,

2022); Spire Inc. v. DOE, No. 22-1117 (D.C. Cir.) (consolidated

respondent brief currently due November 14, 2022); ACHR v. DOE, No.

22-1111 (D.C. Cir.) (consolidated respondent brief currently due

November 14, 2022); Brody v. DOJ, No. 22-4053 (D.C. Cir.) (response


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brief currently due November 21, 2022); and Judicial Watch v. DOJ,

No. 22-5209 (D.C. Cir.) (response brief currently due December 7, 2022).

In addition, Mr. Starcher was away on vacation from September 28,

2022, through October 11, 2022.

     Charles Scarborough has supervisory responsibility for the

government’s brief in this case. Mr. Scarborough also has supervisory

responsibility for the following matters with upcoming deadlines: Payne

v. Biden, No. 22-5154 (D.C. Cir.) (oral argument set for November 2);

United States v. Walgreen Co., 4th Cir., No. 22-1491 (reply brief due

November 3, as extended); Abbott v. Biden, 5th Cir., No. 22-40399 (oral

argument set for November 8); Captain v. Secretary of Defense, 11th

Cir., No. 22-12029 (reply brief due November 16); Sissel v. Wormuth,

D.C. Cir., No. 22-5045 (response brief due November 18, as extended);

Robert v. Austin, 10th Cir., No. 22-1032 (oral argument set for

November 18).

     4. No previous extensions of this time having been sought or

granted.




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      5. Plaintiff-appellees oppose this requested extension, noting that

this Court “disfavors applications for extensions of time for the filing of

briefs.” 6th Cir. R. 26(a)(1).

      But although this Court ““disfavors applications for extensions of

time for the filing of briefs,” 6th Cir. R. 26(a)(1), it regularly grants

reasonable initial extension motions like this one whether unopposed,

see, e.g., Case No. 22-5496, Laibel v. Lanter; Case No. 21-5929,

Polyweave Packaging, Inc. v. Buttigieg, or opposed, see, e.g., Case No.

22-1257, Livingston Educations Service Agency v. Becerra.

      An extension is particularly appropriate where, as here, plaintiff-

appellees are currently protected by a preliminary injunction and can

therefore experience no cognizable harm or prejudice from a short

extension of the briefing schedule.

      6. Intervenor-appellees take no position on this motion.




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                              CONCLUSION

     For the foregoing reasons, the government respectfully requests a

30-day extension, to and including December 15, 2022, for filing the

government’s opening brief.

                                Respectfully submitted,


                                     s/ Jack Starcher
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      OCTOBER 2022




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                    CERTIFICATE OF SERVICE

     I certify that on October 24, 2022, I filed and served the foregoing

Motion with the Clerk of the Court by causing a copy to be electronically

filed via the appellate CM/ECF system. I also hereby certify that the

participants in the case are registered CM/ECF users and will be served

via the CM/ECF system.



                                    s/ Jack Starcher
                                    Jack Starcher
